                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 1 of 36



                                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: YKYLHSYXR Good Luck Smiley-Face Necklaces Rings Stud-Earrings - 18K Gold and Silver Plated Dainty Happy face Jewelry with CZ Simulated Diamond, Cute Preppy Aesthetic Jewelry Gifts for Girls Women.: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Preppy-Aesthetic-Smiley-Face-Necklaces-Stud-Earrings/dp/B097MRP5Y2/ref=sr_1_299

   Collection Date
   Wed, 19 Apr 2023 11:26:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   E4fAHaw+QMvGN244NkeYdSQEpyoQiiWgd3hsYW87A5Cd2gWEO4EqaPUZeFC2SDS0e36LrFt8hEmQ2IFLjNgNGo8vq2pJ8K6VsG94Q7YjwRt7iTQfkNtGTg6XRb1VAR6Z4MRLoH/tvOl2dbUzzmtVdEdsQ41qX/tdDUMPaMo1PlY=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Preppy-Aesthetic-Smiley-Face-Necklaces-Stud-Earrings[fs]dp[fs]B097MRP5Y2[fs]ref=sr_1_299]]_Wed,-19-Apr-2023-11-26-53-GMT.pdf

   Hash (SHA256)
   b522a33e8d3269bd8846db498cb8180bb33a68b3b379d1415c5c17882f656cf8

   Signature (PKCS#1v1.5)
WIANMKWa78Gggz+hV2z/8IsWU3HH9IlniE5zteenDpO3AfkXsS0zwVi90gGZiyLOpJ2Zd9y3CGsAYD1ebJdDdn4alc1MbR1H1xkNsUt4MYEnGk5S/6dQK2BDiY5VCykzdRg9lTh2b+IgXJUo+KvfktgeyQI3V5IxeSFDsLwx6Ws=
                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 2 of 36



                                                                                                                                                                                                               Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 18:23:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.105.210

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GolnEEhO5DGi7f8C0aJeI7jR2/ZrmiinazOrLYEgRfKmiLmJloctX9d9BkTUxy4QXLbtN8V6kvsGkiRKUjyUzkrz3coVgAZ0pYwmScQlqDtmgn0MEJbOSNUya5b1YsrEcR/k/xHgPeiYfee3XCn0k5HwmxOAyke3wr+eU3n5hQjJe4tBZDUydbd016/wdVri6bQ+pc63eM9o3G+B4sB+
   +lXe8sQQJXYZrsVcr98zaXCYyHT4JWOvQUP6KBs2sjVwayei52r3hlFDEXkiMky1dObMemLi7N8nm7TrKOZiZ50KmaJjrVl6j7ZVubNn5uj5ePunE+JPQjhWSTwEaAngGQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-18-23-55-GMT.mhtml

   Hash (SHA256)
   e2073203fa09e7b2b1aca97856f1c22a4cd16095e11c444411cdbdf75a9e3245

   Signature (PKCS#1v1.5)
LCZz+wv3wTv6wwjlrIwXkjeKaVnkIwkXf5GT554rLhOJuOOaW1DHLu12wajlE1rtQluQWyT0dOuBB8vXOfvZWrGWsuAgOKa0o8SuMD8heTZkOT6ukL2it0jcQU113OZzqvtYyF2VwzQzk+Aq0rFHoiXc1G6TxPuE9fZuZO6vtNplewWV57Lrh+inddzMApV2XzCF47UUvQu/
wKBz5dQ6leITg1r9oFg2lZtTEhqADBd3vocG7vxXMjUGCNRpCJTuUfeAGAwEzc4pEXRlf8h3Fts+OPBVL29AULaSWdCBN1F7HcT+4HKqdmACs8GM1uQTbbrz67vOSAWAWu6xZxKKEw==
                                                                               Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 3 of 36



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | HUIDORLE Womens Men Smiley Slippers Happy Lightning Bolt Smiley Face Slippers Winter Slip On Fuzzy House Shoes | Shoes

   URL
   https://www.amazon.com/HUIDORLE-Womens-Smiley-Slippers-Lightning/dp/B0BDFZ1CFR/ref=sr_1_41

   Collection Date
   Wed, 14 Jun 2023 09:57:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UKxbXtcdfZpPWPn6Vd4K4bqN3G2kd52MpdDvQjKyIefYcGL9VKjjFijPoMCxlw9qbYwQDzDZHJmBL+FTQqcZgJNC5okfHJfnTjVoqD0mqznNmLM0UhgM7Tl1bbFgjsrVqPGzOw2QHttPpe+Bg6aYUFDfB5DJhb0RXAhN6KxbW5Q=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]HUIDORLE-Womens-Smiley-Slippers-Lightning[fs]dp[fs]B0BDFZ1CFR[fs]ref=sr_1_41]]_Wed,-14-Jun-2023-09-57-40-GMT.pdf

   Hash (SHA256)
   9ded78b6e946affd4726c4f104104d14e4f756d64ab7f9130b6ed49c09375c50

   Signature (PKCS#1v1.5)
YjhRe6dWxkU8AhIeqXZqlWHbdwNqfAUjNziLgNs2JL1AV1tE8dbggUKpg+cMhATexROfczAS8Kdjy98KEa5jrA4xAW2lIZoIzYCED3KOR+zYH+I1wCSdyFshUiMc52wtd4a1ntoAWoqaxOq/jeLxCTiQHMGQk9HSklgyvfoS9qc=
                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 4 of 36



                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 03:27:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HLLQ9QlFH/kHnyXW/cnh2CpC2UfQohXr/yKhZBidbWF6OkaBWyhjAoPIXINkNrZhsoq5Rn1K9fKKyZ8lVuPxyyh3Jxl5LWpDFVGGmPAj36JcI+Fo/D/BXXBGt5Ko7FeBK7s2128FIIBPyLKygU3lsxsQ0NH/eq3HVxdeRwOaWT/Yf16/LXVav35nmzR/
   e8aMPKgq2cLKwLQUx4KIjSUrWXieA7l3hvlOeMDuSRSlb8gJ+6pJ0g6mUIf74+kOvy9ibJmIaioi1Pfn9rMlvx/1QEBH2P749i9OgTA5TmoEZ3awHHb9THQNb+FUkwNIZ4zD9iV20/kdEcPnfUT2R+XQ4Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-03-27-25-GMT.mhtml

   Hash (SHA256)
   3ec7e8cf8684c4921d7d8dc32f03f764fa02e9d0f081b3e956768240e928d235

   Signature (PKCS#1v1.5)
K3cg6plTPmeRVofs74Qu5zEumtYJH8n3VDcBXQjoIkoLvI9Jqoel4b1x2hU9p1YBTWvLwdfjM/LiKruMHQXkbkKAgskpc9ajhCZviHB1KbnY1nWPqN6dbjSO/K+D6cUVWGRwM8Z0a/luuPGCJMozXfhAhNexyW0v4UIexYeu9vYKG
+iIjNToLFTqHxCGx1NnYSAppYaFUO4Sm3FUa50bEGN5BFJtv2PEm6fJVPSwa7Z2cHwHK54I5ZmVuwwAevOrvVWDBy48hbPmdP6OC4IMdUzzQFZVsKxYsBy6yKXWdaeTQy7AYKnq2Qkloqu+uYF8kAZNfcUQ/I1COy8dRtcagw==
                                                                                    Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 5 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Daisy Iron On Applique Patch - Flower, Smiley Face Badge 1.75" - Perfect for Hats, Shirts, Shoes, Jeans, Bags, Sewing Decorating DIY Craft

   URL
   https://www.amazon.com/Daisy-Iron-Applique-Patch-Decorating/dp/B09D2X8GKJ/ref=sr_1_144

   Collection Date
   Wed, 26 Apr 2023 08:28:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TUOkORE/aPQ9eTI/NThEr8AWycS6dd4U4DNnrjbMm/PEBWph6bhugfLHYoRVs/ONShQh79/+XWWwMtO1FQbIt2X9emB1IquusDvkvsylxmLCT+5m4VOxdpA4t/3jNEwEGdiLKgJtc6Gy+VsTvLLNSIY6nI/hptfAN2XKbG2Ubqc=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Daisy-Iron-Applique-Patch-Decorating[fs]dp[fs]B09D2X8GKJ[fs]ref=sr_1_144]]_Wed,-26-Apr-2023-08-28-26-GMT.pdf

   Hash (SHA256)
   c489b57a72e8ea54f053e204b146e7266282fcf5b9f5af596bd7d2131f5b0adc

   Signature (PKCS#1v1.5)
FfeZe6ao7lwrC1GJQ4F32khnWUZFIAkoSYW2H+zfeeLuY0mZCp2fY2JwPpK5Ni7fUOCJR5wnuQj4L7vqi8MW62vyeyWUNVBsl9P+K5Ha6U65VbTnj5mvu77iFdZ5iZS8qWrgRGMoMhwGYHqSLTUs+DJ3RI2wPXPJ++5Ay7W1vTw=
                                                                                  Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 6 of 36



                                                                                                                                                                                                                       Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 17:44:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nwMYNpOM1DJXvG4bAVWWeV6el40d+0VNLMNyX5JXzXlgr626US52lJJBxBQq0NGGiISz2yy+J2Ax2ZWgEYi3/RomCfCCtyHLKUw9AngFYPx2lByclZyPgrvYDj/SybjnofTSgvtv7MG8FZmhzyu/gy82EtfL6ePl3LSkmNWup2y0pr836zLUnO6djaw+B/
   ZQlXsP0fm1Nt0V7QiIkFjthpBziigtA1CeZwonCGumpJtmfsDIQ1YIqUceoJt2t/HrHEM6ywrAHpNruyHUZQ9IZ8dHpxr7c8yVhqle26hOToU8jIpu0k2FgX11H61iJQO7Qptim71jzB5e//pZl2Vvdw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-17-44-36-GMT.mhtml

   Hash (SHA256)
   7cca1982cb9e117d206054f967681742c319f65b561a9fb30be96f69e0790679

   Signature (PKCS#1v1.5)
f3HyXJb0tABtUfRSzhS7f7BesgFC2Yyu2IXEcCSPlp9u2IH1OXU87vdlyELi1NABeQnJZ5ltSBefDEbipbuWK1EbbkDDBo3KygZBdjMiCen3GZvaneFGYSo7yPZUR06nl6r/qElr83AYIPJhjB200cI1HFfx6BCz8ewi4oCgAlKX4xQxFDGdnQ2l539LVhtdO6VKcqF73VUqB0Ha/563hsKc2CtiGHAbp
+uLnP39K93Kf2injPK+Hip4PqseB9Fi6wrdQyu0j5Xb3Rf7JFR749O0JY3OQn8GvrL6XTVSytwLK3M4po2ETVrZZDfFP24UPafrGDrWxNYAf7ZoVwmAHA==
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 7 of 36



                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Set of 9 PCs Smiley Face Earrings for Women-Stud,Hoop,Drop Earring,Necklace, Ring-YOKKBRUN Handmade Jewelry-Stylish Design Preppy For Teacher (Color L): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Earrings-Women-Stud-Necklace-Ring-YOKKBRUN-Jewelry-Stylish/dp/B0B9K87HR9/ref=sr_1_17_sspa

   Collection Date
   Wed, 19 Apr 2023 11:36:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bKirWGz+LaTMdDgpkRYyzr3FUQ3JKk3sawyivXv0pPgx2PV70wqqoQK6bHGxIjl/gyHOfEw/AgERd7qwfYPmIyCtYBy5ZXvT9wBOTJbI35P9MV9kQ3W5fqkpbnl36996weltkUBFp2eZWjUXHqI9XDOxDN7l3I2Fh/u4OU3P7Dg=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Earrings-Women-Stud-Necklace-Ring-YOKKBRUN-Jewelry-Stylish[fs]dp[fs]B0B9K87HR9[fs]ref=sr_1_17_sspa]]_Wed,-19-Apr-2023-11-36-33-GMT.pdf

   Hash (SHA256)
   f3e1f1f10421020c3da6b11dec247653462bc88d3e5da48f0eeed1e9f6834e03

   Signature (PKCS#1v1.5)
mp02mL0wRnJ5icihdV9pgM2Q/q4m7gdHTuGl1TXvMHCViFlBb+k7MtZJYuNHdBg5EYuQqTFNqAw/RjPsTScZFSHtRXusWaOK05SDJM/y42O3d++PY7XTwS/6wsihiQwpbbnQe+r6BQ+j6qYowFofbzTwavnaUy/qQbo6u6Nb724=
                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 8 of 36



                                                                                                                                                                                                       Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 10:07:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nz/S4aIZ2ykJHBaUU1BtEBzaD4D3PxVouKs4mEgZcAUtHP6AmXYtCB8jpbKvzcQQ6qMejUrLr+E5khD+bFcmA2OztZdArggOSgiZVXyLcYmoY1EpQNzOfnvRW6MEXPMvA6+XuiF2IznJIX3JgEZkgOtm0eyAz8IOWzuTK8e5s3b8fNHOKhgxd4AyWr8+Gqx3/
   fbCpgVRppH1oA6FPmx0TlRKC7fETkRtmemHRgVtFozDiZUZd9fsH5TZ4M7B0VmuwiXs3Mt8Qn6pC42te1MgfsDuHbjscR4suaBWhVQW5Nj+cH2T1mAYNZuhyBawz+wpsIfJzdQowejKlfkKdXIgAA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-10-07-10-GMT.mhtml

   Hash (SHA256)
   3005f4c59daadf7829a4d9f83971fd4befe2954e659282bd46254881d038fbff

   Signature (PKCS#1v1.5)
bCw7HVwO4vRFjI2BkqI9jzwiKllsWrtT3hCIr02bChJIxqOFWtcsspO6ncDHxezNndKJrw8SjMxKtDM02hHzpLdqmWu0ln7+ms4qa4bO6ghuzxhP0RzQrZ+k5XfFtxKzlpJs8uGJ0GbHT9cVuHy+2H1lPvgmz1oF7wFx/e/ARIpwsdaDf6I5zXA
+CAdLArwVvuwga6sbPpUSfed21D96MgbHBLBJnfNaOaoZs1ydlBosaGS8BFbccG37M4KAWbLqXKss0pdK5FLya4hazZnNc2XRslO2hzWcyx4ldGdJq11qbN66wg4tqJfXE3DrOuIrE/5dhag5SmOV64TpZfnEFQ==
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 9 of 36



                                                                                                                                                                                                                      Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 500Pcs 39 Colors Smiley Face Beads YonSnow Acrylic Luminous Happy Face Beads Colorful Sunflower Beads Charms with Elastic Cord Scissors for Jewelry Making Bracelet Necklace : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Luminous-Colorful-Sunflower-Scissors-Bracelet/dp/B09V84C86L/ref=sr_1_36

   Collection Date
   Wed, 14 Jun 2023 10:56:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ma0bvE5zi91BSa1d8lCDLBOdLchBP27wtriV94RDllF2hMsyUYa8p6PxhZTZqe7qLR5hax1BibobDwidS8y82iHVdIcxSjbd6KWR2faj8YuN5+OdufgMJhb+B1BRjGjEcr1Zp6G+RQDUeZ02nP/QYw1J4n74c+pK7oxV+jlIpw0=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Luminous-Colorful-Sunflower-Scissors-Bracelet[fs]dp[fs]B09V84C86L[fs]ref=sr_1_36]]_Wed,-14-Jun-2023-10-56-14-GMT.pdf

   Hash (SHA256)
   ea3b327ac63d14b333d966134c9fa204564e24d193c0fe97a3dce533f62daa37

   Signature (PKCS#1v1.5)
cpGlCS9V4Iw4jAn9AFp4abCC6Of46aGgDJoN80KpJSbMHIk60QCTBW3GnGU77VPKzcmb4tsXtTsYpXwfqOiJ77yIdr0RtM1BKfOxAnO+s5EEw75PsNwat2ETX7FoyNESdY6YhptxnQ5LJ3k7/UFWx7ysqo2z6AT7PM6Lq4CUdkY=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 10 of 36



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 05:02:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   N3R2oAiZQFKDh3q/7HlKlqvyiwR6ni+U2+oE3qcJEic9RWTcuXZS5+4ZVZ8Fk5w8adgnakJstKmZhKlZ6ZmSieUIIcbbVSeBhwFJnFWK5iKy573Kt89fZTXBt3tApVe923Ndu4SAu/wo05qlobFfbYeorygKO7lxVj6RuGWnieuQf9dfzCbWNU8tGeuEBVOaOOXvVwCJPeSv2TEhtk1vF/
   gGd4YIvhgYXnzqwU0pl/KzNLEpOebj3HtzhdvJzJbRLdgmvsjkbQf5biSwg2MWIBiP66gozN9PB34LMK1DOW59zbpZzXShSnxZ8beZP++jExtKD/drG0NMTHPDhYBt1g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-05-02-20-GMT.mhtml

   Hash (SHA256)
   877fdbc868a4d7622b218b297443f77db97fe39626c6fb2afc8e1082aafe5f32

   Signature (PKCS#1v1.5)
SPkIuf0pqjBvOqG1Kz2ooh8oDTySoM56cWRF0sLVgjsVQ7+EyRWfx3PRIYjrzVfJ4jzQtcwPD2gikjhNNjXK8Dy9GtaQngm9V/JmDaPdyrM3UBN6Q5e104OKurCT8e7GAaCaPjC268VdR3QskmjQVfXkj463E/9CSIy03Jg96+fSW/
uzBNspK9UIslWRZNLZxO4BZzsBlQZoUK22cD5+W7AfCe2ExZ5Zi6PmC6MyXe8vztvKbpcxB0CaGPBzbdsWtQh9l6ub/k/i0R0uWsei2ECfck9GdjTl3xxkPcJVEFslAKIPRheA3Eaxb6r8zcAfJzhNXLF4vuibDLwr2zPdXw==
                                                                               Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 11 of 36



                                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Pingyongchang 8 PCS Silver Smiley Face Necklaces Colorful Enamel for Women - Happy Face Charms Choker for Women, Preppy Y Necklaces for Women, Pendant Necklace Jewelry, Gifts for Women: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Pingyongchang-Silver-Smiley-Necklaces-Colorful/dp/B0BN3WK7YG/ref=sr_1_126

   Collection Date
   Mon, 24 Apr 2023 05:45:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   T3gFxjTEi+Z1vhjrk3G51TrAfytfvhV0BpI6qfVbpT+t59+2AN3Hg5agke19xR+vOGqn87w9Mmn5opsYMK2jNa71TtND+G33/0GmcbebCP5CnJRc1UXmyAB3q9o8/lqLS+k1rBaCxg0uNey0ZRMVoyFqk2DyBiMYUmV2oC9hLXk=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pingyongchang-Silver-Smiley-Necklaces-Colorful[fs]dp[fs]B0BN3WK7YG[fs]ref=sr_1_126]]_Mon,-24-Apr-2023-05-45-39-GMT.pdf

   Hash (SHA256)
   f18aa3f4153a6ee28c2048396f244731c01c2ccab00fd0a135d9a7c2251e5144

   Signature (PKCS#1v1.5)
CfIcMs3TBVWhRLD0MfmbHIQcYW2yblFY2l9rlWkTE9EOa2hWgoliwXyT5R1PVYM7DTjJrCGCk0JVoSKiFqm+EKr1IftserlpGUcocJ7kBzTODSB3tG91iFxb9XGQ3FjbK1vxY7poT1nYPguyrRwt3WTAk1tPwJW2S525Xc+3jEk=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 12 of 36



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 03:09:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pC6vZdEB2etc5GvhEMtxlZs+1S7vNAWQzZdXxvjRmFww9ZAN6KnQBgr9m+cgmeYPG2nhdQO06FMtmQriuTG6T8TOnzWfi+WSeBKf+UvgUESA6pPE29u+C1TA3yty++rmzr/0LuW532b8wriqpSM/Sqjo9YR9NtzZQMeAmifFeTSo9qXQJbv22h4ABP8qRi
   +jC0DHFJK79HxHoxA0o/7MO5G4KgDcvziRyvx0Ix7936YzjHI6iKTmSwhh1uCzS+f2FTdDZm8rxqMgUJS3Vb0RTr0zGIqsf320maM+zQLyc2ltkKi6SuWJ71LNCMOLx7sVhNeYdViIIwIzDqEb6GRH0A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-03-09-21-GMT.mhtml

   Hash (SHA256)
   827a30da254651edfe07838b36c8bbe7de79f7b0be222052a9a2526483cbc1f4

   Signature (PKCS#1v1.5)
idONVeTat/hgfQdTW5UTwOdREcYif7vZLLW4I/r1J+kXsyQB0Igr9vfRPr0aBYLkCWjaPPfXnwFmfW2CIhuQ1QudVf7jocrWCdy8vGcMCls+VFjwMRF9p+jmE2luVuCOAk1WRz2/EGj0bHPWaMEnYqUS3061HW5UqHj7xZvadymDns0+BUSCD1xz/WZLrnBKrqQ+mIOPcOgJTjnIwIeNCxRjKH13Y/
jtf3nQe40vzFh0Gm/ypkKqIIaXXAor2D9ftKwk96ct+Y406xfzglkGW9cbHQpeDsZGGNEofYsu8zIGGhIbI38KfGbZIPlntJ0v4jhFR3a7f+yAEuAaRGdkww==
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 13 of 36



                                                                                                                                                                                                                                            Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 3 Pcs Braided Nautical Bracelets Charms Smiley Face Pendant Black Personalized Handmade Braided Rope Bracelet Adjustable, for Kids, Girls, Women and Men Handcrafted Jewelry Party Accessories : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Bracelets-Personalized-Adjustable-Handcrafted-Accessories/dp/B09N3V1788/ref=sr_1_263

   Collection Date
   Wed, 26 Apr 2023 06:00:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QuyiBIhB8en/Vu3Iw0bOOMtPgmVjalelPAuCkpc1CPDnhrKTybts2k/Y8zSY/6ZC9LuCvs7ZoRvt+iG3Tib9D4yEWGVg8fTceyvFJfMNPPs5QgMXZsiI3zsSzyMluq1qO5diHSiDHDTWYNDpmlD+bqnNAO6lanPkyjOm+gredYE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Bracelets-Personalized-Adjustable-Handcrafted-Accessories[fs]dp[fs]B09N3V1788[fs]ref=sr_1_263]]_Wed,-26-Apr-2023-06-00-18-GMT.pdf

   Hash (SHA256)
   f68264e89660a3d646c7a34766663e589e015bc9e21c18cb6ac7a5f2dffb379a

   Signature (PKCS#1v1.5)
AcKbYypBSSypfCWtmX4Hnfm4rB1uz8gFsk5YsvWChSMGfqKmZNs8BiS8j2grIhz5sTTiudPaphB2ldYF1CUUZPvp6k+T0pfuP3UeImBARJybHEhXHULPjSnaTnJM8LE7iUj/luxOTAqrpml4KPkiaWbEo5HtOy/la8W1gNWheWM=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 14 of 36



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 06:03:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Wfq5t6bpYK2iRczv/rSxw1HN1DpZPIrUKb8mXMJNdiGZzQ+cZr2K3MYZMfGwgm6Lqfic67SBJDWic32VrZYdKKLz/17mprTfCy/EmCa6CmkJ901AFwr3nnHkIACMpR+Yq4MW2a51n59RDojx6ALD2YZaTm13Np9WIPd5s1SdCtlJMRNR7LrlNgQxCqa1TQajQCd8wM/
   XxzDLvWxYAvuh5xHE7vdqeWULRWw8bzZUOmvOEx5zKsCKgbR7fvQZIfQvnsQVPbs+OScjj/W9/89Q90mWLFLGP8VcBj6MXlwle4AjJQC+k7DDb5X/s6Ny0BX9YbP/dU1xA+J42u7Nc1RNpg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-06-03-01-GMT.mhtml

   Hash (SHA256)
   bc536754fa6381aa9324a7f63ceee92d0dbe24937d2127f8d6a5786ddf3139e6

   Signature (PKCS#1v1.5)
RscSjM72hWNtHizoGXp4/gHWcF4IClYUAqr936fjLjdv9nz3fJN4vDzc5+y1871bdlnNoOrAFtdF0AKfZIO+ELKYYD53aArW3GTTfvNc01JBEBdNG+dMFz3+EfYhzsvkUP1wvC1VW6BD0iLCOpnaKZ3AcT9AVlfdUnLDsN
+yEaz5V78oNlyEjDHXtoyG3eLM8ffqFqNPud0YT0ErXMEOrvgaMjwWLJfyljTostBC7hwwEjMe3m+12jj1mTEsO7roBf6jeS8hr0xQ9yvtE6fmtEiPn12hMhTMmJgfXZpi5LuXie7Wal5hDkkJqvUb8WGayLl42jfBbhxSjfBb8c94nw==
                                                                               Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 15 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: NICEDAYM Phone Case Pure Clear Anti-Scratch Liquid Smiley Sage Green Funny Pattern Compatible for iPhone X/Xs : Cell Phones & Accessories

   URL
   https://www.amazon.com/NICEDAYM-Anti-Scratch-Liquid-Pattern-Compatible/dp/B09XHTJL3M/ref=sr_1_63

   Collection Date
   Mon, 24 Apr 2023 10:25:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Hqk/KXL4DjZoGe3v6Bz90Ct3+9nWwNTy2YN4oCg9Xr5S+F8h9Yqyzfk5Iib7zrgbplWPXC95c8flbJtBztNXj/d/y3DebcQZUs14noauqjINEA+194SGqywFgDU+ySz7tk/nyZp6pmA3mhfPk7LChMKzBJf1y3rA6WTjpuYi7nQ=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NICEDAYM-Anti-Scratch-Liquid-Pattern-Compatible[fs]dp[fs]B09XHTJL3M[fs]ref=sr_1_63]]_Mon,-24-Apr-2023-10-25-53-GMT.pdf

   Hash (SHA256)
   9d5e4da24bdd7d1467a01d09784e0ec888fe67d9c19f0d9695fd04c25a557739

   Signature (PKCS#1v1.5)
OaQpRh31oP+HeS5zsTFKjQm2uQD738HjIPmgl8vN8k5yza99ynYbMoUaBW3zvYUrS9Iz4vVJwj4TtG1ZJDyHEI5C/Wdxs1rcEoBmIgBQWHw5Fz6OBAd3I/WT4xaSiQl9tThvp2on83X9qg9xhgBeVRv2ltMWmiWXsZtYC1QTj7g=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 16 of 36



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 10:23:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Vpc3b6NepA5TujewiuQgbRifnU13dHFq+8nZ6YMeE+X0DdPXEn+pzJWBTzJ7P48aZWt44dwm56k8oCgJJlHDtlpgN7t7hxT/6fsB8oW0V0SKRBelPl2+ME9vpwAPaPGgyu7gvsj8GrDHHuA9MBKN0zwP9yr40uJ/jiokMEC1UBT/uzPtRGuZj2R3d3MSWfVCty66MabYx
   +qlWE4j3HQDJslHwJBx27pVBlQ3roxGA4bEyBbxfgjzlXEJOTG+O+D+IIKwQKgeyG3KU9oCXq5hyRqjJJNJLEhVXbcN9UgkDQIr1iufAxz808zxZPzlnBdLRp5H+FV9OtJYbVOxkTGJow==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-10-23-08-GMT.mhtml

   Hash (SHA256)
   28245178f4f4531d6441aa658066ba6a3b7b36954cf28377efc033d029fef4c4

   Signature (PKCS#1v1.5)
ZCY516Mi6m0bBaA/rl67vVxL6m1x61ScNBLGimvf1GjRimt7YkgEqflfqsKQEyzWVJ1qa5Ab2MWAweFXSteooJDWKlwvCZUyVIuouQG7cfCN6Wq0RB0gZJUlCQ1MUIe8+4/snkGrx9ALh4Eg+ueZgwyxNA59cJhlyTIkJbaPgEsWTsAs4f8ij0UCMZcYsbBwuoGV3fk2T6XTTljN1Bf/
F5srAQDcLK53ZYQ9OBVF80ZJhAZyv192p3oMGrjaO72CsAoiU8pD4LdmfqtTliDBbh7pbDCn9bqwz4VozoLakO1TB5TTToWNK6q8BR+8QfcymhfUnR9F27E8J6e4ADBG0g==
                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 17 of 36



                                                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Cool Funny Doodle Necklace for Women Men,Personalized Finger Stainless Steel Smiley Face Cute Pendant Statement BFF Necklace Matching Friendship Necklaces for Best Friends Birthday Gift Jewelry for Boys Girls (Silver&Silver (2pcs), Stainless Steel) | Amazon.com

   URL
   https://www.amazon.com/Personalized-Stainless-Statement-Friendship-Necklaces/dp/B0BDGB2MGP/ref=sr_1_280

   Collection Date
   Thu, 20 Apr 2023 05:38:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KFrtQleITgMgrQbr5zkfbc0VNCCAmh+pudrPtN84+dvrzzt2drsCL+TttmMggeXwWBXXN2IqbSYeJrXBn+KcZMuJm5jmOlg+ill44MxVQZndwueHUsUKZjP9ylOeDkgohrujNxXxmo8RxA/1BFAZO0k8Z/+7S758CQcShoqixvA=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Personalized-Stainless-Statement-Friendship-Necklaces[fs]dp[fs]B0BDGB2MGP[fs]ref=sr_1_280]]_Thu,-20-Apr-2023-05-38-27-GMT.pdf

   Hash (SHA256)
   993b73c0fe949b10c1818ab20c3dd996b759b69c29003e3669e6c081966ce9ef

   Signature (PKCS#1v1.5)
p6QbUUeDJR+FcaQE8ELO7pco8UL9QP7G8TjBJVwkWRmJM+XbHREQ3Q9En/f3OawlmCDzjUy9Q6hovuJURjx4zrFQoo3XkNfbD9HeEV4iABpieCIbmVfcw3Mcy8FQ8airuG0lzbtFtM3V2HRO5F6iFF7/fagfvf5b6TGskPN7pTw=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 18 of 36



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 03:31:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VH1Fb65MYQgFZc8QywvTR59UCpPdFO2uYTeoIcbFRcAoG95z+3zqfss+7XIvJtOf9zPXKLA+8Ya6ai4HrXyjtnYszTL7nEce+Et2bMx73KedChRR7tFOC9e930V7ZBJSFi2P1gc/rl6cRY6964KS3ssIn+7OEksJAkogXL96TiHfoDpU0uXxMy7WkILgYf/0HGLB54GilEwisYfMLFKO
   +js9XrHDDbnV0NpGXloBqH4GNxMSUTMTqQsAjkmOBMMekW4WqPBh4lsIxmjfEIVC21J1JxEqjmIaj1mOd+rriSmJq6WnF469TkfQZoi4TudkJRtx18qGCsT25nJzQaWMnw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-03-31-49-GMT.mhtml

   Hash (SHA256)
   cc25e6ff96a169e0826cbb8efebf6b7efa3787f184281daf19f68d0062ebb967

   Signature (PKCS#1v1.5)
BPTLnXMXajMb+PvFVmPXfDuLzDXv+oUBr2zH6F+OsuiNEAsPGfG8JSJQQoHwFK9vZ8W98nhTQ99wufS5iPOfuRhFytmpAlVlGbesbhj/GOOpO
+vH4XqkLaRwOHhG3OMFDeXiLxGZ6IBvnnWZnWYYZ/50p8x0HC7CyXM2BhSpAFdyZLy06Bh9/2EfdWg6607k1XPH8sjGZQ1WL70qJZNFTTC2lEWSA2rUjKXybzeF62hM/OwNziL/hhcQpUrAYgmyhsJL8rP09EIiQCPwgab685yVabDFGXmSMr8bGmewuYGyu4B+XdGKEmZ/
ygP8ct4mCsMt7M7C9Wr6ZYfMBi2T0g==
                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 19 of 36



                                                                                                                                                                                                           Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: YOUNGKY-S 1350pcs Smiley Face Beads, Cute Spacer Beads for Bracelets Necklace Hair Clip Earring Ring DIY Jewelry Making, Smiley , Pearl , Crystal Beads and Elastic String in One Package

   URL
   https://www.amazon.com/YOUNGKY-S-1350pcs-Bracelets-Necklace-Earring/dp/B09J4SL67P/ref=sr_1_62

   Collection Date
   Wed, 14 Jun 2023 11:12:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qdGa2AGoWrmS1iDBQIQb7surNqfAs6+FR1Nvky8Zc3sZZ68m4SQeXfIEd+KCuxyNg3Aorn9xsgsLzI9RxIt1Ul5UMjdzZR8AmOTmmJ1mna44yNH0YJkgzavWsoDzrREkBLUvmWLdaZLAPN9lcmQtTth1us9okNkJxUBO8EbdI8k=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]YOUNGKY-S-1350pcs-Bracelets-Necklace-Earring[fs]dp[fs]B09J4SL67P[fs]ref=sr_1_62]]_Wed,-14-Jun-2023-11-12-17-GMT.pdf

   Hash (SHA256)
   5c0c981a2a8221c7be99323fca512fe6198af085026ff9fc4af6fc16eec29669

   Signature (PKCS#1v1.5)
k5I6dj0hVHPnSurC3bS9ho6EPyqa7Edyw78UmCUcBitg+gBXYORgN0U2w/krHyLWE8tkNLi2JiBIf6Fhi+Fw45kEeJOKd6WDNk9tEWK8NysfJSoO+MLeodHk18RNvxRB75a3resU0Kkv9T3nw9wgW+7tNi5WTGPCUcFL0CsXvoU=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 20 of 36



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 09:12:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ICHSkB5yXmALqI+ldGJ5RsnEHpusJHhqf0B7NK91OZQtsYbwAMnQuFbXhck2KOYLJn83lF3Gptdomm4Lf5CT/yZgYX3gK73/25tOq6TenMaWE9679JYaTRYG2jtlajRXOxDYhWFQIrI6QNhgtY54R+1NrLS9upbd2Yt7B66nuk64dbDgbQBiVMPyHLWFyP3rPa6VPYaRHbPII0ruqg1T4fHqIvq
   +Xw8N53GFqPsvsUVV2CvMvkcUdjtZFhfdj/sRwc17gBSZ0U4Bx4GlTLtTjY5bJxVEKUp/eSsNwcoN7r/9JPsiUIdQeGgyPOjTUnT1vbDpvfxUtTJvYyemgXoxWQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-09-12-03-GMT.mhtml

   Hash (SHA256)
   ab34391aa7b21de187a8dd2995423e843b670d83492cbb63cc7f17e387a1e3f2

   Signature (PKCS#1v1.5)
Iddb6lahuCzosJNL3UOvBg2DIt6M9MH1OQsaRpV+Bt2fiDygkL/FMAvm5HStrzlHJwbSApPs8yIUAmMJUYc7eGer/jtUZWjsH7RHjtpMiK4nIkk6SeHR3ASsZ9qssQmkGp84gk6tUq4B69jTBpk9Pxs81WQmtfZwU7GZOqlDmtRhaO2pEKfstd+Zf/aF6PfFTuYjybTa
+Tu4Ismas6zKr6YXIT77W17WcedhihBXODYRLKeEaKh5ItVdNafldoDrpIxvTmA58NC28h69TmSAnnUA9sHfCmf7QXDuI+agOQrJKhNJl45MxEvXNvYRZ9avRDC386CjtNiSMJVYBQ0qpg==
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 21 of 36



                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Lusofie Smiley Face Makeup Bag Corduroy, Corduroy Cosmetic Bag Smiley Make Up Bag Cosmetic Pouch with Zipper for Women Travel Toiletry Bag : Beauty & Personal Care

   URL
   https://www.amazon.com/Lusofie-Bag-Corduroy-Cosmetic-Toiletry/dp/B0BQHDSVXZ/ref=sr_1_224

   Collection Date
   Fri, 21 Apr 2023 07:58:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hj0rfi458Xs8fOd1FoxOjwacmGpL8qSm+uzZWc4uYecdfwAr4inoi7MYKmM/cMila1Zr8cOjWoV9JaP+nhB+WGj8ChpT9EqeSqhr7oxgNsFWIKs5zRd8z86ordyW1Hs/Ujf5zyeKLAvn2hGD5FexKLoX7RYMKCHPyrsKyrZ62ek=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Lusofie-Bag-Corduroy-Cosmetic-Toiletry[fs]dp[fs]B0BQHDSVXZ[fs]ref=sr_1_224]]_Fri,-21-Apr-2023-07-58-29-GMT.pdf

   Hash (SHA256)
   2577655a611edda52ed356ad014a9a3cdac4ca2f91ac6f063a8aafdd8d72588e

   Signature (PKCS#1v1.5)
NSbTXAoTSIPOft7ncGSnTyU2sqTviJM3PMDaZnXooT07mbE0qzSNzWKfvQ9k3C3MMFQ0b7SAGS+0jzxu/xELKBz9XAWLHlFyxQbSbnrGAu/Lrd1htB6uZcJF/d03La8SEPGRQXaI19P0rMEsnXozZNTyR4a0LA8ZBgL+PCoBCQU=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 22 of 36



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 09:28:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cgi03jtf638WBJpCprIWGdZOl1Z1/Uzp2vytwnWs6GhwxCc8hW60ny0dVZH4mjpavvb3xdzZFpa3ob5HnkBvkz8/QCIh1dmu+OFyQixxSi/4/tYs21UODwpKNHZYOBDlPy/88O1XTNhxnbSH6PzFmaAnfBuDpVENmiG4oxml/0WPACI7IzWJaKhtG9AxwxRSQk1wZszN
   +pBHg95954uBhc6kCzaJZurh8EORRUP2sLt616eB/JCvLAmWloLrcuZP0FpuqCeHVa9T9m3DNNr2LeXTaZp5gIFi8D4nueqV/Hxqgw6kyzAoPJoQQ7XmdHf4bPYQUEnQasT26ZsEEll7HA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-09-28-55-GMT.mhtml

   Hash (SHA256)
   9fbc9c7df00fc49bea3e80a034465417f4700f82f408b7ed34f60d1962225c54

   Signature (PKCS#1v1.5)
cXSyFVEAu4KzZU5WacF4DUt9AaVaugGejPL8kRktY024Sxsr6XwSu66KP1AJnq94rwF8/destxHSnYcolPBiLrQfsManuV08P0ud4QHf4QYZjyLeE6X30sSBuJQb27qHN3IXo2l5TuLr63zXordphniWvjBLtAxdfYTygzqqsCh/EoGeJZFYdJ4Dw
+9cAMcIIXcsMquJvO1Ta2fcRTXNZvsjj1Tf1ld9lA6HdOi8rRN8hk5Bj8ocFQZN7ZhQa/Q9EGej9RLo8kYvWaETClrPUdqqfm6CqE7YI4ORzeWNTU6z6F+caW+nIKoelXNT2qnPknQnD6nz1K9z9W3LyF7y/w==
                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 23 of 36



                                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: UHIBROS 5130 Pcs Clay Beads for Jewelry Making Kit with 200 Letter Beads 100 Smiley Face Beads Flat Polymer Heishi Beads DIY Arts and Crafts Kit,Gifts for Girls 6mm 16 Colors : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/UHIBROS-Jewelry-Making-Letter-Polymer/dp/B09F2RR7C6/ref=sr_1_38

   Collection Date
   Wed, 14 Jun 2023 10:57:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cqFQTIzO/KZ7ZJPrXeIBBJmjOMYXv2Pv07W25/V8qdjJV0GqpA2Fg3S65B1ohBpU6xz0rqTd1JivAmjjXq1aoSNbVRUphUAYzDmcI6/ivWKdcAVg5FENJD688HalBJsXOLOgVfXxLMiianolVyYYTjwc2+m7ponWtv6uMk1KfRI=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]UHIBROS-Jewelry-Making-Letter-Polymer[fs]dp[fs]B09F2RR7C6[fs]ref=sr_1_38]]_Wed,-14-Jun-2023-10-57-52-GMT.pdf

   Hash (SHA256)
   3e161b2ac0977c125b3a75f7a2def07bae40878cfc6f8083dcba8c506fa498c7

   Signature (PKCS#1v1.5)
U0j4HOQ7bYqMkrRavfec3mpgNcdB9WPjTV3RSDNrRcUq3gB8aoUqSas7ZtIuiFdB53pCRY5IRx5HctUa/RaiQGKQEVlb2U5yjWDMA2nxkIR13NUTpjvDqh+y4PjOcEP880CG79QeFV9nDOpxUo0hJEV+41lzMorOxFNHgoNNzbQ=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 24 of 36



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 06:40:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   h/j5OCVDfi9C1nBRXvpC78KQusfxcku32mNd1oHAeZvaxtHnSl5B8rpvW9MStXKhlBF+3aUmP
   +6dE7o1Qs26KROrdT1q6CT9aCXISy6tRBVfLhKbgWfYUJOnXVHsR6pu5womEMSQreUP4uFR9tWeI85frKWEx0WzJdZjvQV1ePzvTqgsEAnt2Ndo0blmtC8ryLvx82tu1SOjdSdHkfMQ9RXw8ey2AL/KqqmjTVQfbJ0IywHZe8UEfUIjVKBKFgoy
   +0CUcc5jry23Nt7lQkDD64I3+rarkOOnD3pgtZv3sK/Iac/alnarBrFsUZuPj1mDt2Ai/mV++SIrwGPJgC0Ehg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-06-40-09-GMT.mhtml

   Hash (SHA256)
   07f9f40fd81f792e6da4509b83f82801754e36f70810f9a4105f9ed486277d18

   Signature (PKCS#1v1.5)
kRpQ6JsArriL/4o0T/hvPu3X3gnPKJZGie5BT44zGNMmhBt47uT7I7sQlaQUo462/SoSbOmj4PWLVGoAmlblKgM4FNf9JttO+PqTpbHaEa6Xf/B27vFexLFRNM/jFNQ3LryEi13wrdgR0AZUaGRp+NHZCKGnfyhSVVDvjm14ME71Qh7m/Z1uFMlcTxeEaROHboBWT76EvJzZZtjo21eTrKeBT2VTXCdq
+hll/O82/2sBCT+yBjQSrROSGfX48SuHjZgxsaGEmHqa1fd721QtZmJ2D0f+bvtx0IKkwuCaoCBxWZKmbjdKW6GWctYCEc+8Hm7QaEnt7WO0ySNBhIIk/w==
                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 25 of 36



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 2PC Vampire Teeth Ring Stainless Steel Teeth Nail Rings Smiley Piercing Teeth Jewelry (Golden + Silver) 1.2mm (16G) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Vampire-Stainless-Smiley-Piercing-Jewelry/dp/B09NQZ5WXZ/ref=sr_1_207

   Collection Date
   Tue, 09 May 2023 06:07:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PmDzOe81CEep/42kC4mxnYwX8QpQqt+nlTVVzJ1ftY4NZquwCz5tiWF7vR6LMVLuHe1tKfPPKhddTLw4EXu1jGZ1/VmzjuhAjC6kK/Rfwh6LOilYr4nTQS6o2qaF4tQZx50MkgXEgIA+kgYlgLXzfGZogmhQQBk8lxmVpLZ0Qkc=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Vampire-Stainless-Smiley-Piercing-Jewelry[fs]dp[fs]B09NQZ5WXZ[fs]ref=sr_1_207]]_Tue,-09-May-2023-06-07-53-GMT.pdf

   Hash (SHA256)
   c035c9eb3833bdc96c99d7d40e5f33d4868aac648ffb01d840585c61c09621e1

   Signature (PKCS#1v1.5)
h1JCaVTjbQVHm7fqSiFK5fnjNog59dtAKcuTVkxObQAkX4JNwjYCujE0SArK5P3uvEMasIJ8TVNRf8yEqgeeFO+Eassci+sYOI9EUaALrgGsi8nSCGpdtg5Flm6f9Pv75Y3wht9iJgdEu5lseTbDy7Ig2Nn58pv93S/1pVpAGkU=
                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 26 of 36



                                                                                                                                                                                                         Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 13:58:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZIlox/VJMk5Lwib44AlhSTpUBha5XbiEuz8SxYphs//B1Q3NgcRQB86gFOiF3mplysCjqfjKvGAG8mBGdooR74hT34Vbx1Egkvdy/9qbA46gdxxSUiyvXCZ/cAKp/KME101m+UB/fjYGlC6zvCEfeVpjn/3UNjw0TbvzTLgGPX9JM6KTyuDp0Bro4jvCWln9+P/
   RAGsxbjmwxICBR9YcHVwE4LUiqaWnD2RZw6GbPIKzl2YvrLTaQAJsYoDMh2/oW83L8AzTaYwsJMxNThHvzo7Pq8ldzr+3b5H56R3z4qaOZlxJ5Z88k7lmJbNyesvSwW83e57CfoVGQkaC0KKJcw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-13-58-01-GMT.mhtml

   Hash (SHA256)
   d27378487e2b870a2c461f5fb5e9a2f8a7ae3cbb0e0283b2115838c8c429efbc

   Signature (PKCS#1v1.5)
GB8cSXGcC9qcY4BCmYeFVQO4BlN++wDUU2UkYz5QcOBwaRl1J8IQB5RPNCbw28th993RMPUL6/0jAUtkyc+nAFfoFGcb75zO2ZXHMcWVPTJgq1Pk47AQ8GKKqG/eBGM64KYjsllH1Sr5EXhnP8fWVT89WM74AKQ6M+om+reUQR6WPNucCN1X38ihIIaryfkw5MhFEzVN7w2Rqg
+YKEqh5OkCFXQVey7TbCE/gahIRPpJqPcusCecGfAe+3n937kY5bL0HgPzHsykSaXhxsImOp7OHT1wdzg53KagR4EIX9cNK980OMCgHAOMk7iKfOBnZxx4/5TjG8c27iDiOGL96A==
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 27 of 36



                                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: YTanazing Compatible with iPhone 14 Pro Max Case with Strap, Cute Smiley Face Design Plating Shockproof Full-Body Protective Phone Cover with Finger Loop Strap Holder Stand for Women Girls (Pink) : Cell Phones & Accessories

   URL
   https://www.amazon.com/YTanazing-Compatible-Shockproof-Full-Body-Protective/dp/B0BFT3K4G2/ref=sr_1_153

   Collection Date
   Mon, 24 Apr 2023 11:24:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mepIWCuy9jn4BltDQYN6PywFM8EwqP+W+5bM61WhLp9ZHDPIXQBNJsjhzffuUKMweu6cPdbvB5P88v4t1C6+vdZUAoZWPXCHqDWC5DDsmd25D/YTqGAcjDgQ+GpsnovQH7oJ7d7yUNz5swX4pHMVaiQnPNIl6yDE/9/6zE1piqU=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]YTanazing-Compatible-Shockproof-Full-Body-Protective[fs]dp[fs]B0BFT3K4G2[fs]ref=sr_1_153]]_Mon,-24-Apr-2023-11-24-49-GMT.pdf

   Hash (SHA256)
   69b01c993c9d9050acfcf0618d3fd65e9be13feeb0afadd85cc9cb6ef2da1395

   Signature (PKCS#1v1.5)
KA2T7uzLxqJltlb5/g+P8l/v1XOs6zM1+GCOTVL0O4FjCXSWpgw2gSPKXq6vq/zdz0bo3jl99ssX+GCkzEUz6zHBXwRPMbbHk/POgiPwFArUqug7eCA2+Rzds9BB+P2Zfi/MwOrqVTOebBntEajfHbMX0ULApG0mrskZvR7xHok=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 28 of 36



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 23:32:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VFdfwKtAdfvD+yV1Fs9c4KFmOoEHgkG4S/6s+0Axh6BrorsL4kUo/XelNcVJVflRnQ2frulPPUes1+nmTcj5Ilq16vuh6GtbxkN7UFy8VzEWukWL7VkwhWOKsw+ZrMFVxf8YfJGjeVkYo67AO44UbuSd4fPikyWzoAeqMIHLgUkbU6sx8YHOl19+6pRr45TBV+89shGbDx6p69tyG5mInOPxHgY99m/
   TvrrziH0x+i7QvdfOZIOg0xzhvMsiaWZ/slepCvZQWgyE9n9W25X6g76MUGqc8c+16mniLFvwVS0QAzWXM93ck1VoQZQkJPM6PAaT67R/LCw+2SnJ9LidHg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-23-32-03-GMT.mhtml

   Hash (SHA256)
   f421453f86904eb1f024cccc12603e770bfb1af1f005defbe7df41a6f400f19b

   Signature (PKCS#1v1.5)
qzc80sDuiqs+koWKvLcRQSq/aKuwL2cVWwMv3zrlFybDrZiYPFUjDv0m65V3w0WSnYxR/qhemyP5RKI33IqeyE8adsE0l7Cm/cYv+9nsO3O0nbe74kMS+L8Hi/AO1GF0Vfl2L5uQmS82p3eOVNQqCTOdJF/1DjxUxffqT+OqMLfxtn4SSbk9KY7y8yyl+oKNtH+RnhCPNxLD6GgPMrnypFnr/
p2dg6ytYZslOBZOqAtQirRmeRjsYIw/tgMbrTv31RcJBBbPXwpwEDUQ6xaSVeRWTpJfVJzM6J6LzLn04Uy5CquLLpr+ljTg1OlvU1L6G/DSTh3Qf4cXFLH4b4KDQw==
                                                                                 Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 29 of 36



                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: One Happy Dude 1st Birthday Banner Smiley Face Birthday Decoration, Hippie First Birthday banner,Hippie Birthday Decorations Crown, one happy dude birthday decorations (gold) : Electronics

   URL
   https://www.amazon.com/Birthday-Decoration-Decorations-birthday-decorations/dp/B0BYYB2XNC/ref=sr_1_253_sspa

   Collection Date
   Wed, 26 Apr 2023 05:58:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TpnkbhAGmBJr/qb/0rPlWWQE63Osve8bXqLw7aWK1GtGIx0oGNvgTgmtO312qrT4DnXmckuLQy0zko+VO33qLRvwKTZR1wWwf/VskDcVddeUoa6KBP8H0iXxy/q9gKeKfUghhOaZSjnVcLlLgLYP/TlOViutHV9mg3+4vmcImUI=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Birthday-Decoration-Decorations-birthday-decorations[fs]dp[fs]B0BYYB2XNC[fs]ref=sr_1_253_sspa]]_Wed,-26-Apr-2023-05-58-42-GMT.pdf

   Hash (SHA256)
   38eb3cc2387f7b77c5ec82a32fe65e7ce59009ab7a0e3fab909df38a0972c7d4

   Signature (PKCS#1v1.5)
UPOlPmea1i4wNJmIssJtoq5Rw0NZBa4XJpqwwQZOOswFtheBFJ35DZdYk8YvaZo29Kv9HM5juWNnKbnfDOkfY98LTNW+/ZYwRVT3XVI1wbq61KjL1PgWWM6bAwP2CycKucfVLPlXXQQ8EoSugw8WA4VjEWdBCrhxmHuCO8Y5R5c=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 30 of 36



                                                                                                                                                                                                                      Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 05:20:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UF+FaLHl2EZgWFk9dLnHWjUzB+fi+VIJ6QwhxhFIXEeVlSeEx6LUMIH9xpbDY+VUrCwZETVGfKBayFJWO1gUiOAR4eoFDuJlNyrORK8A8OnjsBvpWqsMZeRswdvTdGe911RnPuUhozye7EQWQgiXsu3B+FlG9r9Ul87YX5+nfV++DpY6s1T2TlZTxRG3/tYkaPq1k3AtrwYtR6aFftebSRG/
   lMKBANFLJffihtHyxYJ0XTuQQfv+5kvqQOGQyuVVCY2XtNxX8lY82VUwpoKiRq9NPrZcp/g0J1AMW9EHlXf6QH1thF4LdVBbNWO1DzldWbFeciAeBwO8SaIVKzKuIQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-05-20-05-GMT.mhtml

   Hash (SHA256)
   e0fe0598d5a5ab135b282e995b329e0888c9e9f14427f8dd4202aa27a773d0a4

   Signature (PKCS#1v1.5)
i0Vhini0Cur9af2yWaDAchjupqbJsC0CtjnJGHd8GlwFr+tOd2KoVOKdYzPDEYZqdJLtICy6HYBx42GQSy9+87VstQAd/E+O2bYkF6WCpvVRGXasECIgbSDnBEYmxf9C73T0k7n9nqmqx891p/ufRUBNuDrUjz5in3GHTEjlAfjkUOcnlL4FVPWardfFh20WoA1LJ7Ecc0S6q5UlQjqsibSiOvklYyW/
zgHOmfn34J+Aic46q30FrH7IfN4sMxS0HRNukSiBo8qb3wL2P7+mcTe+aicNyPCRzMThYxAeXzJrsTLU4bpmd6C1l3Tlnyz6vuI9JEr4WbzhzHBmFWoQ0Q==
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 31 of 36



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Flower Shaped Decorative Throw Pillow, Cute Reading Flower Floor Seating Cushion, for Automobile Throw Pillow Cushion, Room Couch Lounging Flower Pillow (Black Smiley face) : Home & Kitchen

   URL
   https://www.amazon.com/Decorative-Reading-Seating-Automobile-Lounging/dp/B0BXCTLV55/ref=sr_1_195_sspa

   Collection Date
   Tue, 09 May 2023 09:41:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HyH2qFnmFcIDiWe6ihszorE9tWdWWgTCFKdY3xPtzbR3lDXzWDJqugnImhuQyk8e0YeJgmhLdkRZjt3q0JfGA34A24cslM6ztr4UwzaastQNdrJfIibCYOcCDIMDIaMckezviVJHv8M59simFh7vCTyay50PjcpS8ivQ1bSzFtc=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Decorative-Reading-Seating-Automobile-Lounging[fs]dp[fs]B0BXCTLV55[fs]ref=sr_1_195_sspa]]_Tue,-09-May-2023-09-41-52-GMT.pdf

   Hash (SHA256)
   5d653822a52fc26fb5282c086ac686a7a8aac1df92c988edad8f9ee771cda8af

   Signature (PKCS#1v1.5)
eyr0c9BjJWwLPhhu+B4vbdnRjrNQpvjuNPHdbTuf/39HvQSB956+t6P3qOoCrZ6QT7A+kym593yDbf2YUAbb796hvkf8Apig6muOqL29MyUyvSEjzep45PWZBi2iD4595BhrDzwdgvDw3m/zVle9OfTKU0lQF9pdyC9DyCwTlMU=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 32 of 36



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 05:55:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QamcM0RnhWR56C1SOedzhZAHEP4dGl6K2zXBF5uuULdWWyjUy6wmr5QOOjyIDif/R1ZRO3vMxIBuQe39Tx/+8Vpp3Vy5wsYSLz86MNRYxbyDxx7Qx/nXab0xQF5zsGOh29lLP48S6zZDB9P9g3WSSdPO3fEJQnbyBZih4NemSPmMcnw5cNyr0iu7G243UGrrDaj+0yg9UZi4Iwvn/
   gvLbU7LVmaZgvk7Jf6m7H9PezDrQHrqV9ikZvLpjkhuKlk0eevvXnBlTCun5/bKVJ/MZVwl1B8418UDKsA6gqyw+B3+lAFh8irQMbwqWT9aLgPuWC4wZglhB72j/DPIWfBJqA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-05-55-13-GMT.mhtml

   Hash (SHA256)
   c293db2fabf3385a998bf676f6fce73cb921b9762bafaf476abd5aa4022ea589

   Signature (PKCS#1v1.5)
PjgtaMzH4e/ih54jQxqBXgKllrDkKRDs5ArEEb8NuORqZP0Ag9HAfUCLscaG8mYoSUD2JOnlw+OMnVz6Rm6GCMhS9u05WMjWjJyf5NzGm6ZUira4F1Hbl+mIhpem0cL28vLxPn0VjbcT/9M+EWpdkV01/OCSnTXWAabV0Bq0bL94Pi+3rsVMKGFr4/
KMTlwcc8p35JWyIiRcFDqkh8VmY4AFZCRKdWlhd1mv7BdMyvrj8tlB6x34u1d0Cjw27uCauSxUu3tvCIo8snM80RPD3gPVB5NymlfLlzWx9ZypHlTD3uXL65jEgEJDfluRb9P+XGTdJT7RdCuy4dfrCtoxvQ==
                                                                               Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 33 of 36



                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: YWYUHE Cute Smiley Phone Case Compatible with iPhone 14, Funny Green Gradient Bow Knot Lens Protection Shockproof Fashion Smile Phone Cover for Girls Women : Cell Phones & Accessories

   URL
   https://www.amazon.com/YWYUHE-Compatible-14-Protection-Shockproof/dp/B0BLV9CVMQ/ref=sr_1_138

   Collection Date
   Mon, 24 Apr 2023 11:11:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   naswa++0ek+dkfaC749/EIcl8kKP9QBHhY/miZiKyxqgHQ2pAJlzd2UTXbzmyJZ1KANBPClhgHA4aH/tJbqCX+yVB/ThKC11aVLjDWFP4LnwpJ/h5mPVqWyrXrkMcCTtLscHZyvGDMZGXFtvYBrnDTQOWElOLI32Hv1GiBm9bfI=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]YWYUHE-Compatible-14-Protection-Shockproof[fs]dp[fs]B0BLV9CVMQ[fs]ref=sr_1_138]]_Mon,-24-Apr-2023-11-11-10-GMT.pdf

   Hash (SHA256)
   d414d6faa339d85f4015ba3471c8469f388331ed50c7f81bb6a356eeac83887d

   Signature (PKCS#1v1.5)
F3IJtJq7Qlfvn/6YxYkbNW2HbwoXl4oNdQaDggmA+tv1lMETbQ+TytEPrpgV6+L9lSL490S39ZoCgpQN9NFw/FBScrY1USguqKm72NIUivZLiYakySOZAK3SbVc0o1onApYD7ixpeZH/mJSJNEt1zhMGkT7xvlhEM3vhP8hWr44=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 34 of 36



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 15:45:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VZSkcFekDQ8n1sy/YguCTQjlPNTsHUyIEaql1bQb3hXI/oTgViRileNwbyy4j7cFFy+rOid7+hKXUer3YuhldGw2neCbNK3WGWPpNopi4i+tKMRr35wHJVDvmT6HHhF4+7LMbTkTYIRiQz8Xzh3eD2rRLccPin74C/PqOi2FPBT0bF+VY6sSDB7l/
   +BfCGoqaJPY0uZOnwDM5Ynbr40B1h9qmKi6R14wP4j5bVNqLpprasmi5IVSaLWnMehaH9PKZbStjX+t5bTAvEVnDApyetVMk/Devz44lCzWP4M8rzHjh6k4gBFSfzrjsedixu9480AF2gqAurgXqlAgwFFW4Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-15-45-48-GMT.mhtml

   Hash (SHA256)
   036fe38eaef89d83b0371bf543c07a2133de3f4102d1d38bc22c7c718d8357f4

   Signature (PKCS#1v1.5)
m6kOLmBVX9b5s3gLAt3t0Z6vSq0y878XHzX16key8q7Ow7GT5398nCeFtFLnZN1xPtW1LtbBnSQIOKRCffjxutrJ3XjUx25ALPnD5U0EpddoxUJkFRjFiZpZxH0ankgmnTVnEjlesq07/b/8XRfVkyPcjm9U94c53yRH1qymCsKuD9pp/p9FZCEO7K9X0mAnjVXZD2Dapo/
lhwp5GMsec4EdOOqppMXADq/uQ1DEo9toWkL9BSDH3wzUX9XXvZ8Lzdz4neR9cNJflT2bY3uHzOpxzRR1u2RN0FCrjJKDXtAMomVaXjulSdlP0pSHx5kiPAsShKUgcKaYQk1YPYwO0A==
                                                                               Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 35 of 36



                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | FUHUAQI Women's Men's Bolt Happy Lightning Smiley Face Slippers Vintage Leopard Smiley Face Slippers Memory Foam Soft Plush Slippers Warm Non-Slip Home Shoes Pink 39-40 | Shoes

   URL
   https://www.amazon.com/FUHUAQI-Lightning-Slippers-Vintage-Non-Slip/dp/B0BFXHWWXP/ref=sr_1_158_sspa

   Collection Date
   Wed, 26 Apr 2023 05:10:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   e4v2gXaLSPniX3Qs98meiDHyJUe5uAVzpoARIGjjAs4YLF/w61xPxTGY3v/g3RtQqGBLGslPAYhwe7dae968XJfCFOeiF+Z+fXI0w8ymGUOTOkQa5BCw32lrgUD60Zv4zY8POR0d+wrmCB2pFOF8GoRgiWefndRMHzCGdspFQuQ=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FUHUAQI-Lightning-Slippers-Vintage-Non-Slip[fs]dp[fs]B0BFXHWWXP[fs]ref=sr_1_158_sspa]]_Wed,-26-Apr-2023-05-10-41-GMT.pdf

   Hash (SHA256)
   d49e418ed4f3b540b94b1b05f65c6caf40c69a05a9d18cd086b61f67a6b9fc39

   Signature (PKCS#1v1.5)
Gig49ZOLbk0vPCD97xZ8HOzlIhbCsartyrDXma+ABB87mOXDpcuASkxjtvOmp79xvmB7p6mvPNpsUHgC78sPkzO2nUi6fsbXa4jrb0L6lZK6cD72Wz/M0uWrmMEnBWwUCQhQbeNK47FdCSpTv+SXO5DaN6cGd4z1EP0DW20HWlE=
                                                                                Case 0:23-cv-61203-AHS Document 39-2 Entered on FLSD Docket 07/27/2023 Page 36 of 36



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 15:12:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BTs9pzwB+zzjdMCDpaeFGQlxyAAUYVGL+MBtVArAuY4YdjCJpW42V3YHsqSXSGmtlCBrisvmt8JAzmw5vHLuBrVQCCwlcgGEpChJYH0tlmBo6tQg2W/x5B2Pxbrl9nkxtWPFq0zpEkpCjnNTnC
   +H3fsXdpMO6G4QEqSMtbUH5NY83JzdtqlmFXrWc1CfMe04K8+ajCO2hfrAHqjUmq1MiFhwb0UqkImb7pgz82CwUZEy2zh4HvaI2lqAffctJNj7HLnDeTKOgU8kv5eXjPTslzon4ecywHAm1bMy1OQagI6zjOEWvB/iAZ+lQDMP2aJdk1Xz3mgLBF2YFBteqJ5YBw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-15-12-17-GMT.mhtml

   Hash (SHA256)
   bdbb87d154d60e49461ae61b1d17b083f5efba9c6b86c076e5f19d3439bdcb1c

   Signature (PKCS#1v1.5)
G4k7C7HUGht+q2N/Ob+m5zITnaWG6SpiHsPYz/LzmiNl5fxJjlVfGFQPLTgQCuCXMMFmAtTkQquvOfYWCYbmCg1I9XKfoDTIepe97FVw/ZtQqNIF6ScBXN8jz6z20K/QJ8Nan7qQxQNn4l+t0EJuApw7nr94RopZ2TO20SwpYX2unsWLQoZi1wKF8G2hZm/
kiHItKkpNqX6snvfVFuIwcShX7JX5UfDqZL3AQcjq/9RIqyTjLARRVpASXgNyBA/DxIhkvcNrqJNHn7BgxyFr6R4mDGa8ObNJwfAXETDb8o7lnJYhCzYXv2AXviFWNLZgs4Y8HmSBrU+A8VpzbJSukw==
